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As United States District Court

John Joseph Moakley United States Courthouse
1 Courthouse Way, Suite 8110
Boston, Massachusetts 02210

PATTHJSARE
CHEFJUDGE

April ll, 2019

Re: Operation Varsity Blues
MBD NO. lB-mC-9ll34-PBS

 

Dear Defense Attorneys,

I am writing in response to your letter dated April 9, 2019
regarding the assignment of the case involving your clients. As
you know, shortly after you sent the letter, the grand jury
superseded the indictment drawn to Judge Gorton by adding
sixteen new defendants. I have also received a response from the
U.S. Attorney's office in response to your letter.

The court is strongly committed to a random draw of
criminal indictments and informations to ensure the integrity
and fairness of the administration of justice. Local Rule
40.l(b)(3) provides that every criminal case be categorized and
assigned by lot among the district judges in such manner that
each district judge shall be assigned as nearly as possible the
same number of cases in each category. Your claim that the
defendants have been improperly joined must be addressed to the
presiding judge. If he severs any defendant(s), the presiding
judge has the authority to return the indictment of that
defendant for random re-assignment pursuant to local rule.

Thank you for bringing this important matter to the Court’S
attention.

Sincerely,

Patti B. Saris
Chief Judge

cc: Attorneys Listed as Signatories
Andrew Lelling, Esquire

